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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="15ad8c583c"&gt;&lt;span data-sentence-id="16cec8f9a2" quote="false" data-paragraph-id="15ad8c583c"&gt; Jason Huffer, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="7988833266" quote="false" data-paragraph-id="15ad8c583c"&gt; &lt;br /&gt; RR NYE, LLC; Tyler Fey; Daniel Higgenbotham; Angela Jensen; Christian Reicheneder; Shane Reilly; Lisa Loving-Martellini; and Robert Martellini.&lt;/span&gt; Respondents &lt;/p&gt;&lt;p data-paragraph-id="ef50b0bfb8"&gt;No. 23SC917&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4afc352e0c"&gt;July 22, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="fcaf7ccd40"&gt;&lt;span data-sentence-id="84ede5cc67" quote="false" data-paragraph-id="fcaf7ccd40"&gt; Court of Appeals Case No. 22CA1283 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="AppealLine" data-paragraph-id="7215ee9c7d"&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
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